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                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 13-768V
                                          (Not to be published)

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                            *
TAMMY ANDRISEK,             *                                             Filed: February 6, 2015
                            *
               Petitioner,  *
                            *                                             Decision by Stipulation; Damages;
          v.                *                                             Influenza (“Flu”) Vaccine;
                            *                                             Guillain-Barrè Syndrome (“GBS”);
SECRETARY OF HEALTH AND     *                                             Chronic Demyelinating
HUMAN SERVICES,             *                                             Polyneuropathy
                            *
               Respondent.  *
                            *
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Danielle Anne Strait, Maglio Christopher and Toale, PA, Washington, DC, for Petitioner.

Lindsay Corliss, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                                  DECISION AWARDING DAMAGES1

        On October 3, 2013, Tammy Andrisek filed a petition seeking compensation under the
National Vaccine Injury Compensation Program.2 Petitioner alleges that as a result of receiving
the influenza (“flu”) vaccine on November 7, 2011, she suffered from Guillain-Barrè syndrome
(“GBS”) (which continued and is now characterized as a chronic demyelinating polyneuropathy),
and that she experienced the effects of this injury for more than six months.



1
  Because this decision contains a reasoned explanation for my action in this case, it will be posted on the website of
the United States Court of Federal Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347,
§ 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the inclusion of certain kinds of confidential information. To
do so, Vaccine Rule 18(b) provides that each party has fourteen (14) days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the decision will be available to the
public. Id.
2
  The National Vaccine Injury Compensation Program comprises Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755 (codified as amended, 42 U.S.C.A. ' 300aa-10 – 34 (2006))
[hereinafter “Vaccine Act” or “the Act”]. Individual sections references hereafter will be to ' 300aa of the Act.
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        Respondent denies that the flu vaccine caused Petitioner’s alleged GBS, and/or any other
injury, or her current condition. Nonetheless both parties, while maintaining their above-stated
positions, agreed in a stipulation (filed February 6, 2015) that the issues before them can be
settled and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’
stipulation (as attached hereto) is reasonable. I therefore adopt it as my decision in awarding
damages on the terms set forth therein.

        The stipulation awards:

                A lump sum of $583,681.00 in the form of a check payable to Petitioner.

Stipulation ¶ 8. This amount represents compensation for all damages that would be available
under 42 U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amounts set forth above to be made
to Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the
clerk of the court is directed to enter judgment herewith.3


        IT IS SO ORDERED.

                                                                /s/ Brian H. Corcoran
                                                                   Brian H. Corcoran
                                                                   Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or
separately) a notice renouncing their right to seek review.

                                                      2
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